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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

UNITED STATES OF AMERICA                  )
                                          )
       v.                                 ) CASE NO. 2:14-CR-238-WKW
                                          )             [WO]
JACOREY GIDDENS                           )

                                     ORDER

      Now before the court is Defendant’s motion to modify conditions of

supervised release. (Doc. # 142.) Upon a thorough review of the record, the court

concludes that Defendant’s motion is due to be denied for the reasons set out in the

Government’s response.      (Doc. # 147.)     Accordingly, it is ORDERED that

Defendant’s motion to modify conditions of supervised release (Doc. # 142) is

DENIED.

      DONE this 23rd day of September, 2020.

                                           /s/ W. Keith Watkins
                                      UNITED STATES DISTRICT JUDGE
